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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
RICHARD BELL
                                                                               2:18-CV-06501-PA-E
                                                 Plaintiff(s)
                             v.
                                                                   ADA DISABILITY ACCESS LITIGATION:
DAVID'S BRIDAL, INC.,                                                    APPLICATION FOR STAY
                                               Defendant(s)              AND EARLY MEDIATION

1.    Party (name):         DAVID'S BRIDAL, INC.,                     requests a stay of proceedings and early
      mediation through the Court's ADR Program
2.   The complaint in this case asserts a claim under Title III of the Americans with Disabilities Act ("ADA"),
     42 U.S.C. §S 12181-12189.
3.   The party filing this Application for Stay and Early Mediation requests that the Court:

      a.     Stay these proceedings;

      b.     Schedule an early mediation through the Court's ADR Program;

      c.     Order Plaintiff to file with the Court and serve on Defendant(s) within fourteen (14) days of the date
             of the Order granting Application for Stay and Early Mediation a statement that includes the
             following:
             1)    An itemized list of specific conditions on the subject premises that are the basis of the claimed
                   violations of the ADA; and
             2)    An itemized list of damages and, for each item, the amount sought.

      d.     Order Defendant to file with the Court and serve on Plaintiff(s) at least ten (10) days before the date
             set for the early mediation any evidence Defendant intends to rely upon to support a claim that the
             alleged violations have been remedied or that no violation exists.


Date: August 9, 2018


                  Robert D. Vogel                                              /s/ Robert D. Vogel
                  Type or Print Name                             Signature of Attorney (or Party without Attorney)



                          Opposition to this Application for Stay and Early Mediation
                     must be filed no later than seven (7) days from the date of service of this
                                    Application for Stay and Early Mediation.


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